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 WWR#040260160

                       IN THE UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

 IN RE:                                             :
                                                    :
 Harry C. Auel, Jr.                                 :      Case No. 18-14314
                                                    :
                                                    :      Chapter 7
                                                    :
          Debtor.                                   :      Judge Beth A. Buchanan

                      TRUSTEE'S ABANDONMENT OF REAL PROPERTY

 The duly qualified and acting Trustee herein respectfully represents that:

          1. The real property located at 1742 Clough Pike, Batavia, OH 45103 is listed as an asset

 of this estate. A detailed description of the property is attached hereto as Exhibit “A”.

          2. The current market value for this property is $171,700.00, pursuant to Debtor’s

 Schedule A.

          3. Said property has no realizable value to the estate for the reason that it is subject to a lien

 in favor of U.S. Bank Trust National Association, not in its individual capacity but solely as

 owner trustee for Loan Acquisition Trust 2017-RPL1 in the amount of $244,253.60.

          4. No party in interest, before the conclusion of the 341 meeting, has filed a request for

 further notice of abandonment nor has further notice been ordered by the Court.

          WHEREFORE, the Trustee abandons the above-mentioned real property.


                                                  /s/ George Leicht
                                                  George Leicht
                                                  Chapter 7 Trustee
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                                   CERTIFICATE OF SERVICE
         I hereby certify that a copy of the foregoing Trustee’s Abandonment of Real Property was
 served: (i) electronically on the date of filing through the court’s ECF System on all ECF
 participants registered in this case at the email address registered with the court and (ii) by ordinary
 U.S. Mail on February 20, 2019 addressed to:

 Harry C Auel, Jr
 1742 Clough Pike
 Batavia, OH 45103

                                                /s/ Laura L. Peters
                                                Laura L. Peters #0063425
                                                Weltman, Weinberg & Reis Co., L.P.A.
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                                                                                A
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